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                               UNITED STATES DISTRICT COURT
                                             DISTRICT OF MINNESOTA
ELISABETH CLEVELAND, AMY LARCHUK, CHRISTOPHER
REDMON, DHAVAL SHAH, and THOMAS MCCORMICK,
on behalf of themselves and all others similarly situated
                                                                             LR 7.1(f) & LR 72.2(d)
                                                                    CERTIFICATE OF COMPLIANCE
                                   Plaintiff(s)

 v.                                                              Case Number: 20-cv-1906-WMW-JFD
WHIRLPOOL CORPORATION

                                Defendant(s)



 I, Rachel Soffin                                                 [name of filer], certify that the

                                        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
      ✔ Memorandum titled:_______________________________________________________
                          FINAL APPROVAL OF CLASS ACTION SETTLEMENT
           complies with Local Rule 7.1(f).

 or

           Objection or Response to the Magistrate Judge’s Ruling complies with Local Rule 72.2(d).

 I further certify that, in preparation of the above document, I:

      ✔ Used the following word processing program and version: ________________________
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       3/31/2022
 Date: _____________________                                  Rachel Soffin
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